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                             IN THE UNITED STATES DISTRICT COURT
                              FOR THE EASTERN DISTRICT OF TEXAS
                                      MARSHALL DIVISION

       CYWEE GROUP LTD.,

               Plaintiff,

               v.                                          Case No. 2:17-CV-00140-WCB-RSP

       SAMSUNG ELECTRONICS CO., LTD.
       AND SAMSUNG ELECTRONICS
       AMERICA, INC.,

               Defendants.

                                        JOINT STATUS REPORT

             This Joint Status Report is submitted to comply with the Court’s February 8, 2023 Order

   (Dkt. 339). 1 This Joint Status Report addresses the effect of three appeals: CyWee Group Ltd. v.

   Google LLC, No. 2020-1565 (Fed. Cir. Feb. 8, 2023) and CyWee Group Ltd. v. Google LLC, 847

   F. App’x 910 (Fed. Cir. 2021) (the “Google Appeals”) and CyWee Group, Ltd. v. ZTE (USA), Inc.,

   No. 2021-1855 (Fed. Cir.) (the “ZTE Appeal”). A brief summary on the status of each appeal and

   their potential impact on the above captioned action is provided. A single appeal is currently

   pending. The parties agree that this case should remain stayed until final resolution of the Google

   and ZTE Appeals, including resolution on any writs of certiorari.

             A.      The Google Appeals

             The Google Appeals have now concluded at the Federal Circuit. As a result, original claims

   1 and 3-5 of U.S. Patent 8,441,438 (the “’438 patent”) and original claims 10 and 12 of U.S. Patent

   8,552,978 (the “’978 patent”) have been found invalid. The amendments to claims in the ’438

   patent and ’978 patent have been rejected. CyWee is evaluating whether to petition the Supreme



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       Except where specifically noted below, this joint statement reflects the positions of both parties.

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   Court for a writ of certiorari from the final decisions in the Google Appeals but does not currently

   anticipate doing so.

             B.     The ZTE Appeal

             The ZTE Appeal remains pending at the Federal Circuit. In the ZTE IPR, the Patent Trial

   and Appeal Board (“PTAB”) found original claims 1, 4, 5, 14-17 and 19 of the ’438 patent invalid.

   In the ZTE IPR, the PTAB rejected CyWee’s proposed amendments to the challenged claims of

   the ’438 patent. CyWee will seek a writ of certiorari to the Supreme Court if it does not prevail in

   the ZTE Appeal.

             CyWee’s additional statement: The amendments at issue in the ZTE Appeal are different

   than those at issue in the Google Appeals. The Federal Circuit decision regarding the amendments

   to the ‘438 patent in the Google Appeals have no bearing on whether the amendments in the ZTE

   Appeal will ultimately be allowed. The question of whether the PTAB properly rejected the

   amendments in the ZTE IPRs remains at issue in the pending ZTE Appeal as does the PTAB’s

   allowing (over a dissent from one of the administrative patent judges) LG Electronics (“LG”) to

   take control of the ZTE IPR as a time-barred joined entity despite ZTE continuing to participate

   in challenging the original and amended claims. 2

             Samsung’s additional statement: Samsung disagrees with the characterizations in

   CyWee’s additional statement but does not believe any mischaracterizations are relevant to this

   status report. Samsung reserves the right to address these issues at the appropriate time, if

   necessary.




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       CyWee urges the Court to read the briefs in the ZTE Appeal.

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             C.      Impact of the Appeals

             As to the ’978 patent, the result of the appeals is that original claims 10 and 12 of the ’978

   patent have been found invalid subject only to CyWee’s potential petition for writ of certiorari to

   the Supreme Court from the final decisions in the Google Appeals. If CyWee does not petition, or

   if the petition is unsuccessful, Samsung believes that CyWee’s infringement claims as to the ’978

   patent should be dismissed.

             As to the ’438 patent, original claims 1 and 3-5 were found invalid subject to CyWee’s

   potential petition for writ of certiorari to the Supreme Court from the final decisions in the Google

   Appeals. The validity of claims 1, 4, 5, 14-17 and 19 remain at issue in the ZTE Appeal. Claims

   1, 5, 14, 15, and 19 of the ’438 patent may be upheld in amended form and claims 14-17 and 19

   may be upheld in their original form. CyWee will seek a writ of certiorari to the Supreme Court if

   it does not prevail in the ZTE Appeal.

             CyWee’s additional statement: The following chart illustrates the cumulative status

   based on the current posture of the Google and ZTE Appeals:

       Patent                  Asserted Claim              Final        Federal    Final        Federal
                                                           Circuit Decision 3 Re   Circuit Decision Re
                                                           Validity of Original    Validity of Amended
                                                           Claim?                  Claim?
       ‘438 patent             1                           Yes                     No
                               3                           Yes                     Yes
                               4                           Yes                     No
                               5                           Yes                     No
                               14                          No                      No
                               15                          No                      No
                               16                          No                      No
                               17                          No                      No
                               19                          No                      No

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       Whether either party will seek writ of certiorari to the Supreme Court is unknown.

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       ‘938 patent            10                       Yes                   Yes
                              12                       Yes                   Yes

             If CyWee’s amendments to claims of the ’438 patent are allowed as a result of the ZTE

   Appeal, upon remand CyWee will seek to amend its complaint and the infringement contentions

   in this action to assert the amended claims. Given the unlikelihood the Supreme Court will grant a

   writ of certiorari to the ZTE Appeal, CyWee will seek to lift the stay and begin this action again

   immediately given the massive delay that has occurred.

             If the Court lifts the stay after a remand from the Federal Circuit, CyWee contends no

   additional claims construction will likely be required. Because of the six-year delay, some CyWee

   experts and counsel are no longer be available to serve CyWee. 4 If the ‘438 Amendments are

   allowed, CyWee contends additional fact discovery, supplementation of discovery responses,

   expert discovery and a new schedule will be required. The additional fact discovery will be

   substantial. In the more than six years this case has been pending, CyWee contends dozens of new

   infringing products have been introduced (others have been discontinued), changes have been

   made to the Android code at issue and thousands of new applications have been added to the

   Google Play Store that CyWee contends require the infringing functionality.

             Samsung’s additional statement: The PTAB has found all asserted claims invalid. If

   CyWee’s appeals of the Google and ZTE IPRs are unsuccessful, all asserted claims will remain

   invalid, which would require this case’s dismissal. Given the many unknowns, Samsung will




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    As an example, the entity that conducted the conjoint study for CyWee is no longer in business.
   Many of the CyWee lawyers have left to join another firm in 2022 and new counsel will have to
   be hired to replace those attorneys, something that cannot occur until new counsel knows what is
   left of the case. CyWee contends that an almost six-year delay will require the entire case to be
   somewhat “rebooted” if and when it returns to this Court.

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   respond to any request by CyWee to amend its complaint and infringement contentions at the

   appropriate time.

          Addressing a potential case schedule is premature because there are multiple potential

   outcomes of CyWee’s appeals, including outright dismissal of this case. The parties will only need

   to discuss the schedule if any asserted claims remain after CyWee’s appeals are complete.

   Samsung will therefore not address CyWee’s statement above on how this case should proceed

   unless the Court so requests.

          To the extent that CyWee’s table above suggests that CyWee may amend or substitute

   claims 4, 16 ,and 17 of the ’438 patent in the pending IPR appeal, Samsung disagrees. Since

   CyWee only sought to amend or substitute Claims 1, 5, 14, 15, and 19 of the ’438 patent, they may

   not amend or substitute additional claims. See Final Written Decision, ZTE Appeal, Paper 87 at

   89 (PTAB Feb. 17, 2021) (“CyWee proposes claim 20 as a substitute for claim 1, claim 21 as a

   substitute for claim 5, claim 22 as a substitute for claim 14, claim 23 as a substitute for claim 15,

   and claim 24 as a substitute for claim 19. RMTA App’x 1–5.”).

           Date: February 15, 2023                       Respectfully submitted,

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